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   United States of America
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR- 00205 TLN
12                                 Plaintiff,
                                                          STIPULATION AND [PROPOSED]
13   v.                                                   PROTECTIVE ORDER BETWEEN
                                                          THE PARTIES REGARDING
14   MATTHEW MULLER,                                      DISCOVERY
15                                 Defendant.
16

17                                              STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, Matthew D. Segal

19 and Heiko P. Coppola, and defendant MATTHEW MULLER, by and through his counsel of record,

20 Thomas A. Johnson, hereby stipulate as follows:

21          1.      The Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

22 Criminal Procedure.

23          2.      This Stipulation and Order pertains to all discovery provided to or made available to

24 Defense Counsel as part of discovery in this case (hereafter, collectively known as “the Discovery”).

25          3.      Defense counsel shall not disclose any of the Discovery to any person other than his

26 respective defendant/client, witnesses that his is interviewing or preparing for trial, or attorneys, law

27 clerks, paralegals, secretaries, experts, and investigators involved in the representation of the

28 defendant in connection to the criminal case in which this Stipulation and Order is filed.
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 1           4.     The Discovery and information therein may only be used in connection with the

 2 litigation of this case and for no other purpose. The Discovery is now and will forever remain the

 3 property of the United States Government. Thirty days after any judgment is entered in this case,

 4 defense counsel will return to the Government the Discovery or will certify that the Discovery has

 5 been destroyed. However, in the event that Defendant ever files a collateral attack on any conviction

 6 in this matter, the Government will, after the Court rules on any motion to dismiss the collateral

 7 attack on legal grounds, loan the Discovery to defense counsel for the duration of the collateral

 8 attack proceedings. In that event, the Discovery will be subject to the same limitations in this

 9 Stipulated Order and will be returned to the United States at the conclusion of the collateral attack

10 proceeding.

11           5.     In the event that the Defendant obtains substitute counsel, undersigned defense

12 counsel agrees to return all Discovery provided under this order to Government counsel, in order that

13 the Government may arrange for substituted counsel to sign the order and the reissuance of the

14 Discovery to new counsel.

15           6.     Defense counsel will store the Discovery in a secure place and will use reasonable

16 care to ensure that it is not disclosed to third persons in violation of this stipulated order.

17           7.      If defense counsel makes, or causes to be made, any further copies of any of the

18 discovery, defense counsel will inscribe the following notation on each copy or incorporate onto

19 electronic files (efiles): “U.S. Government Property; May Not Be Disseminated Without U.S.

20 Government Permission.”

21           8.     If defense counsel releases custody of any of the discovery, or authorized copies

22 thereof, to any person described in paragraph three, defense counsel shall provide such recipients

23 with copies of this Order and advise that person that the discovery is the property of the United

24 States Government, that the discovery and information therein may only be used in connection with

25 the litigation of this case and for no other purpose, and that an unauthorized use of the discovery

26 may constitute a violation of law and/or contempt of court. Defense counsel must specifically advise

27 that any Discovery disclosed under paragraph three may not be further reproduced or distributed.

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 1          9.     Defense counsel shall promptly advise Government counsel of any other person’s

 2 subpoena, document request or request or demand for access to the Discovery, so that that the

 3 Government may take action to resist or comply with such demands as it may deem appropriate.

 4          10.    Defense counsel shall be responsible for advising his or her respective defendant,

 5 employees and other members of the defense team, and defense witnesses of the contents of this

 6 Stipulation/Order.

 7          11.    Defense counsel shall maintain a list of any and all persons to whom the Discovery is

 8 disclosed and shall advise such persons that their viewing of the discovery will be so memorialized.

 9 IT IS SO STIPULATED.

10

11 DATED: October ___, 2015

12
                                                 /s/ Matthew D. Segal___________
13                                               MATTHEW D. SEGAL
                                                 Assistant United States Attorney
14
                                                 /s/ Heiko P. Coppola___________
15                                               HEIKO P. COPPOLA
                                                 Assistant United States Attorney
16

17 DATED: October ___, 2015

18                                               /s/ Thomas A. Johnson    _____
                                                 THOMAS A. JOHNSON
19                                               Counsel for Defendant MATTHEW MULLER
20

21

22                                               ORDER
23          IT IS SO FOUND AND ORDERED this _____ day of ___________, 2015.
24
                                                 ____________________________________
25                                               EDMUND F. BRENNAN
                                                 UNITED STATES MAGISTRATE JUDGE
26

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                                                      3
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